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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE


 UNITED STATES OF AMERICA                                                       PLAINTIFF


 v.                                                        CASE NO. 3:23-CR-00055-DJH


 JOHN ANTHONY SCHMIDT                                                         DEFENDANT


                                   NOTICE OF FILING

        Comes the Defendant, JOHN ANTHONY SCHMIDT, by counsel, and submits the

 attached character letters and letters of support for his sentencing set for Thursday, January

 4, 2023 at 9:30 a.m.

                                                Respectfully Submitted,


                                                /s/ Patrick J. Renn
                                                Counsel for Defendant
                                                600 West Main Street, Suite 100
                                                Louisville, Kentucky 40202
                                                (502) 540-5700
                                                (502) 568-3600 (fax)
                                                prenn@600westmain.com


                              CERTIFICATE OF SERVICE

        I hereby certify that on November 29, 2023, I electronically filed with the Clerk of
 the Court by using the CM/ECF system, which will serve notice of electronic filing to all
 attorneys of record.

                                                /s/ Patrick J. Renn
                                                Counsel for Defendant
                                                600 West Main Street, Suite 100
                                                Louisville, Kentucky 40202
                                                (502) 540-5700
                                                (502) 568-3600 (fax)
                                                prenn@600westmain.com
